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                                          MOUNTAIN VIEW




                                                             AMAZON.COM, INC.
                                                          14
                                                          15                       UNITED STATES DISTRICT COURT
                                                          16                      CENTRAL DISTRICT OF CALIFORNIA
                                                          17                     (WESTERN DIVISION – LOS ANGELES)
                                                          18 GRANT MCKEE, individually and on               Case No.: 2:17-cv-01941 GW (Ex)
                                                             behalf of all others similarly situated,
                                                          19                                                FURTHER SUPPLEMENTAL
                                                                              Plaintiff,                    DECLARATION OF JASON A.
                                                          20                                                MASSELLO IN SUPPORT OF
                                                                   v.                                       DEFENDANTS’ MOTION TO
                                                          21                                                COMPEL ARBITRATION AND
                                                             AUDIBLE, INC. and AMAZON.COM,                  DISMISS CLAIMS
                                                          22 INC.,
                                                                                                            Date:      July 13, 2017
                                                          23                  Defendants.                   Time:      8:30 AM
                                                                                                            Crtm:      9D
                                                          24                                                Judge:     George H. Wu
                                                                                                            Trial Date:NONE SET
                                                          25
                                                          26
                                                          27
                                                          28
                                                               MASSELLO FURTHER SUPP.
                                                               DECL. ISO DFTS’ MTN TO
                                                               COMPEL ARB.                              1       Case No. 2:17-cv-1941 GW(Ex)
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                                                           1         I, Jason A. Massello, declare as follows:
                                                           2         1.    As I have explained in my earlier declarations in this case, I am an
                                                           3 attorney and serve as Corporate Counsel supporting Audible, Inc. (“Audible”), a
                                                           4 wholly owned subsidiary of Amazon.com, Inc. (“Amazon”). My current
                                                           5 responsibilities include supporting all aspects of Audible’s service offerings and
                                                           6 business operations, as well as working with the Amazon Litigation and Regulatory
                                                           7 Department in identifying, reviewing and producing documents in litigation on
                                                           8 behalf of Audible and Amazon. Based on my job responsibilities and my review of
                                                           9 Audible’s and Amazon’s business records, I am familiar with the agreements,
                                                          10 customer sign-up and order process, and customer history that I discuss in this
                                                          11 declaration. I make this declaration based on personal knowledge and records that
                                                          12 Audible and Amazon keep in the ordinary course of business, including information
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                                                          13 obtained from other Audible and Amazon personnel in the course of their duties. I
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                                                          14 am competent to testify to the matters stated here.
                                                          15               Response to Exhibit in Plaintiff’s Counsel’s Declaration
                                                          16         2.    I have reviewed the Supplemental Declaration of Jamin S. Soderstrom
                                                          17 in Support of Plaintiff’s Opposition to Defendants’ Motion to Compel Arbitration
                                                          18 and Dismiss Claims, and I understand that Plaintiff’s counsel attaches certain
                                                          19 screenshots of Audible’s mobile sign-up webpage as Exhibit 1 to this declaration
                                                          20 (Dkt. No. 29-2). Plaintiff’s counsel attaches a screenshot in this Exhibit 1, labelled
                                                          21 “SCREENSHOT OF VIEW SHOWING POP-UP KEYPAD OBSCURES
                                                          22 DISCLOSURE.” Mr. Soderstrom claims that this shows that if a consumer “takes
                                                          23 an action on the page other than press the ‘Start Now’ button, a keypad may pop up
                                                          24 and obscure the disclosure.” Dkt. No. 29-1 at ¶ 2 (emphases added). However, Mr.
                                                          25 Soderstrom does not say what the “action” is that he took to create this exhibit.
                                                          26         3.    Based on my own investigation of Audible’s mobile sign-up flow, the
                                                          27 only way a person is able to replicate what counsel has caused to appear on
                                                          28   MASSELLO FURTHER SUPP.
                                                               DECL. ISO DFTS’ MTN TO
                                                               COMPEL ARB.                               2         Case No. 2:17-cv-1941 GW(Ex)
                                                    Case 2:17-cv-01941-GW-E Document 33-1 Filed 07/05/17 Page 3 of 11 Page ID #:905



                                                           1 Audible’s sign-up webpage in his Exhibit 1 is to take the following steps. First, in
                                                           2 the middle of the sign-up process, a user would need to select a search bar on the
                                                           3 mobile webpage. This allows a user to search for a book, which is not something
                                                           4 that is part of the sign-in process. To search for a book, one needs to type the name,
                                                           5 and accordingly, clicking in the search field causes a virtual keyboard to appear. If
                                                           6 a consumer decided to stop the sign-up process and search for a book, he or she
                                                           7 could do so, but after entering the book title and clicking “go,” the mobile website
                                                           8 would take the user to a different page, showing search results based on that user’s
                                                           9 search. But that is not what Mr. Soderstrom did to create this exhibit. Instead, it
                                                          10 appears that he took the following steps: (1) he triggered the search field as if he
                                                          11 were going to search for something, (2) instead of entering any text in the search
                                                          12 field and searching, he left the keyboard open without using it, and (3) he scrolled
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                                                          13 down to the “Start Now” button while deliberately stopping short of the disclosure
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                                                          14 immediately underneath the “Start Now” button. Needless to say, this is not how
                                                          15 the sign-up process works. In the ordinary sign-up process, the keyboard would not
                                                          16 appear on this screen for existing Amazon customers with a credit card on file. I
                                                          17 also note that Mr. McKee does not claim he saw any popup keyboard on this page
                                                          18 when he signed up for an Audible subscription.
                                                          19         4.     The Audible mobile sign-up webpage does not require or invite
                                                          20 existing Amazon customers to enter any information on the final sign-up screen
                                                          21 where the “Start Now” button appears. Indeed, a user cannot use the keyboard to
                                                          22 enter or change any information in the fields above the “Start Now” button. If a
                                                          23 user presses the “Change Payment” link on that page, Audible directs the user to
                                                          24 another screen where the user can select a different payment method or enter a new
                                                          25 one. Moreover, if a user clicks the “Go” button on the keyboard after manipulating
                                                          26 the webpage to display what is depicted in this screenshot, the user will not
                                                          27 complete the Audible subscription sign-up process. Instead, as noted above,
                                                          28    MASSELLO FURTHER SUPP.
                                                                DECL. ISO DFTS’ MTN TO
                                                                COMPEL ARB.                              3        Case No. 2:17-cv-1941 GW(Ex)
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                                                           1 Audible will direct the user to a page of search results based on what the user had
                                                           2 entered in the search bar.
                                                           3                          Amazon Integration with Audible
                                                           4         5.    Plaintiff’s complaint in this lawsuit asserts the same nine causes of
                                                           5 action against both Amazon and Audible, referring to them collectively as
                                                           6 “defendants.” I understand that despite these claims, in opposing this motion to
                                                           7 compel arbitration Plaintiff has argued that Mr. McKee’s use of Amazon, and
                                                           8 Amazon’s conditions of use, are “irrelevant.” See Dkt. No. 29 at 2. But Amazon’s
                                                           9 terms of use explicitly apply to Amazon affiliates, like Audible, and the services
                                                          10 they provide, and Audible is closely integrated with Amazon.
                                                          11         6.    The Amazon Conditions of Use define “Amazon” as including
                                                          12 “Amazon.com, Amazon Services LLC and/or its affiliates.” As shown in Exhibit
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                                                          13 16 to my supplemental declaration (Dkt. No. 30-17), the Amazon Conditions of
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                                                          14 Use in effect when Mr. McKee first joined Amazon Prime, and in effect when he
                                                          15 signed up for Audible, provided as follows:
                                                          16               We offer a wide range of Amazon Services, and sometimes
                                                                           additional terms may apply. When you use an Amazon Service
                                                          17               (for example, Your Profile, Gift Cards, Amazon Instant Video,
                                                          18               Your Media Library, or Amazon applications for mobile) you
                                                                           also will be subject to the guidelines, terms and agreements
                                                          19               applicable to that Amazon Service (“Service Terms”). If these
                                                          20               Conditions of Use are inconsistent with the Service Terms,
                                                                           those Service Terms will control.
                                                          21
                                                               Accordingly, except where an Amazon service has its own inconsistent terms,
                                                          22
                                                               Amazon’s Conditions of Use apply. The words “Amazon applications for mobile”
                                                          23
                                                               were highlighted in blue text and contained a hyperlink, which linked to a webpage
                                                          24
                                                               listing various Amazon mobile applications, including the Audible app.
                                                          25
                                                                     7.    Both the Audible and Amazon websites promote the fact that Audible
                                                          26
                                                               is an Amazon company. For example, as shown in both the mobile sign-up and
                                                          27
                                                               mobile app sign-in that Mr. McKee used, and on the standard Audible website sign-
                                                          28   MASSELLO FURTHER SUPP.
                                                               DECL. ISO DFTS’ MTN TO
                                                               COMPEL ARB.                             4       Case No. 2:17-cv-1941 GW(Ex)
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                                                           1 up, the webpages and app display the Amazon logo and state that Audible is “an
                                                           2 Amazon company.” See Exhibits 3, 4, and 10 to my supplemental declaration (Dkt.
                                                           3 30-4, 30-5, and 30-11).
                                                           4         8.    Audible’s service also has deep integration with Amazon’s products
                                                           5 and platforms. For example, customers can purchase Audible audiobooks either
                                                           6 through the Audible online storefront (at www.audible.com) or through the
                                                           7 Amazon desktop and mobile websites. Purchases may also be made from the
                                                           8 Audiobooks tab on Amazon’s Fire Tablets, and a selection of Audible audiobooks
                                                           9 are included in Kindle Unlimited and as part of the Prime Reading Room
                                                          10 membership benefit, making them available everywhere those services are offered.
                                                          11 Amazon does not require customers to hold an Audible subscription to purchase
                                                          12 Audible audiobooks through the Amazon websites or tablets. Customers with an
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                                                          13 Audible subscription, however, have the option to use membership credits to
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                                                          14 purchase Audible audiobooks through these Amazon surfaces. Attached as Exhibit
                                                          15 1 to this declaration are screenshots of the webpage from Amazon’s mobile website
                                                          16 for the audiobook of Richard Wright’s Native Son; attached as Exhibit 2 to this
                                                          17 declaration are printouts of the webpage from Amazon’s desktop website for the
                                                          18 audiobook of Neil deGrasse Tyson’s Welcome to the Universe: An Astrophysical
                                                          19 Tour. Both the mobile webpage and the desktop webpage allow the user to listen to
                                                          20 an “Audible Sample” and provide that the material is “Sold and delivered by
                                                          21 Audible, an Amazon company.” The mobile webpage identifies the format of the
                                                          22 book as an “Audible Book,” and the desktop webpage identifies the format using
                                                          23 the Audible logo.
                                                          24         9.    Amazon also allows purchasers of Kindle e-books to add Audible
                                                          25 narration to those e-books at a reduced price where Audible audiobook versions of
                                                          26 those e-books are available. After a user purchases a paired Audible audio edition
                                                          27 of a Kindle e-book, the user can switch back and forth between reading the Kindle
                                                          28   MASSELLO FURTHER SUPP.
                                                               DECL. ISO DFTS’ MTN TO
                                                               COMPEL ARB.                             5       Case No. 2:17-cv-1941 GW(Ex)
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                                                           1 e-book and listening to the Audible narration without losing his or her place.
                                                           2         10.    Both the mobile Amazon.com webpage and the desktop Amazon.com
                                                           3 webpage give Amazon customers with Audible subscriptions two options for
                                                           4 purchasing the audio directly through Amazon.com: with membership credits or a
                                                           5 credit card on file. As I stated in my earlier declarations, Audible also requires new
                                                           6 customers to use an Amazon account in order to start an Audible subscription, and
                                                           7 that was true when Mr. McKee started his Audible subscription on June 26, 2016.
                                                           8         11.    The Amazon desktop website also features a personalized landing page
                                                           9 for each Amazon account called “Your Amazon.com.” Attached as Exhibit 3 to
                                                          10 this declaration is a printout of the personalized “Your Amazon.com” page of an
                                                          11 Amazon customer with an Audible membership. At the top of the webpage, there
                                                          12 is a frame that displays how many Audible membership credits the user has left and
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                                                          13 invites the user to “Shop with credits.” The page also recommends “Audible
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                                                          14 Audiobooks” that the user might enjoy.
                                                          15         12.    One of Amazon’s most popular offerings is Amazon Prime, a
                                                          16 subscription service that provides customers with free two-day or same-day
                                                          17 shipping on eligible items; unlimited online photo storage; streaming of movies and
                                                          18 TV shows with Prime Video; music streaming; and the ability to borrow e-books
                                                          19 from Amazon and audiobooks from Audible through Prime Reading Room, among
                                                          20 many other benefits. Customers can subscribe to Amazon Prime for a monthly or
                                                          21 annual membership fee. Attached as Exhibit 4 to this declaration is a printout of a
                                                          22 webpage describing various benefits available with a Prime membership. One
                                                          23 membership benefit available to all Prime members is “Audible Channels for
                                                          24 Prime,” for which Amazon provides the following description: “Get access to
                                                          25 Audible Channels, a $60/year value, for free. Audible Channels includes unlimited
                                                          26 listening to original audio series and playlists handcrafted for every interest. You’ll
                                                          27 also receive access to Prime Exclusive Audiobooks, a collection of streaming
                                                          28   MASSELLO FURTHER SUPP.
                                                               DECL. ISO DFTS’ MTN TO
                                                               COMPEL ARB.                               6       Case No. 2:17-cv-1941 GW(Ex)
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                                                           1 audiobooks including best sellers, family favorites, celebrity-narrated classics and
                                                           2 more. Just download the free Audible app and sign in with your Amazon account
                                                           3 to start listening.” Prime members do not need to have an additional Audible
                                                           4 subscription to enjoy the “Audible Channels for Prime” benefit.
                                                           5         13.   Users can listen to Audible audiobooks through the Amazon mobile
                                                           6 app and on a number of different Amazon devices, including Amazon’s Fire tablets,
                                                           7 its Amazon Echo devices, and Fire TV devices that use the Alexa voice service.
                                                           8         14.   I understand that Plaintiff has compared Audible to another company
                                                           9 owned by Amazon, Zappos, which sells shoes and other clothing. However,
                                                          10 Zappos does not have the same deep integration with Amazon and its Amazon.com
                                                          11 website that Audible does. Customers can purchase products on Zappos only
                                                          12 through the Zappos online storefront (at www.zappos.com) or the Zappos mobile
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                                                          13 app, but not directly through Amazon.com. In addition, the sign-in process for
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                                                          14 Zappos does not state that it is “an Amazon company” or display the Amazon logo.
                                                          15 Zappos has its own terms which do not incorporate by reference Amazon’s
                                                          16 Conditions of Use. In contrast, Audible’s Service Terms of Use expressly
                                                          17 incorporate Amazon’s Conditions of Use into its agreement with users.
                                                          18       Mr. McKee Agreed to Amazon’s COUs When He Signed Up for Prime
                                                          19         15.   As I stated in my earlier declarations, Mr. McKee’s account history
                                                          20 shows that he joined Amazon Prime in February 2012. He signed up for a free trial
                                                          21 membership to Amazon Prime on February 10, 2012, which then converted to an
                                                          22 annual paid membership on March 10, 2012.
                                                          23         16.   Attached as Exhibit 5 to this declaration is a printout of the historical
                                                          24 Amazon Prime Terms & Conditions in place when Mr. McKee signed up for his
                                                          25 Amazon Prime membership on February 10, 2012. The first paragraph of the
                                                          26 historical Amazon Prime Terms & Conditions reads as follows:
                                                          27            Welcome to the terms and conditions (“Terms”) for
                                                                        Amazon Prime. These Terms are between you and
                                                          28   MASSELLO FURTHER SUPP.
                                                               DECL. ISO DFTS’ MTN TO
                                                               COMPEL ARB.                         7       Case No. 2:17-cv-1941 GW(Ex)
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                                                          1                 Amazon Services LLC and/or its affiliates
                                                                            (“Amazon.com” or “Us”) and govern our respective
                                                          2                 rights and obligations. The Terms, together with
                                                                            applicable terms and conditions related to any
                                                          3                 promotional offers provided to you for use with Prime,
                                                                            constitute the entire agreement between you and
                                                          4                 Amazon.com related to the Prime membership. Please
                                                                            note that your use of the Amazon.com website and Prime
                                                          5                 membership are also governed by our Conditions of Use
                                                                            and Privacy Notice, as well as all other applicable terms,
                                                          6                 conditions, limitations, and requirements on the
                                                                            Amazon.com website, all of which (as changed over
                                                          7                 time) are incorporated into these Terms. If you sign up
                                                                            for a Prime membership, you accept these terms,
                                                          8                 conditions, limitations and requirements. Please read
                                                                            these Terms carefully.
                                                          9
                                                               The terms “Conditions of Use” and “Privacy Notice” appear in blue text and are
                                                          10
                                                               hyperlinks. If Mr. McKee had clicked the “Conditions of Use” link when Mr.
                                                          11
                                                               McKee signed up for his Amazon Prime membership, Amazon would have
                                                          12
                                                               directed to the Amazon Conditions of Use that Amazon had in place at that time,
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                                                          13
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                                                               which I attached as Exhibit 17 to my supplemental declaration (Dkt. No. 30-18).
                                                          14
                                                               The Amazon Conditions of Use in place when Mr. McKee signed up for his
                                                          15
                                                               Amazon Prime membership included the Amazon arbitration agreement.
                                                          16
                                                                           Mr. McKee Agreed Repeatedly Agreed to Amazon’s COUs
                                                          17
                                                                     17.    During his course of dealing with Amazon, Mr. McKee purchased a
                                                          18
                                                               number of Amazon devices, which I describe in greater detail below. As I have
                                                          19
                                                               stated in my previous declarations, each time a customer makes a purchase through
                                                          20
                                                               Amazon’s standard checkout page (whether on Amazon’s desktop website, its
                                                          21
                                                               mobile website, or its mobile app), the customer is required to accept Amazon’s
                                                          22
                                                               COUs. And that was true at the time that Mr. McKee made each of the purchases
                                                          23
                                                               that I describe below. In addition, each Amazon device comes with its own set of
                                                          24
                                                               terms, which govern the use of that device.
                                                          25
                                                                     18.    Mr. McKee purchased a Kindle Fire Tablet on Wednesday, May 2,
                                                          26
                                                               2012. Attached as Exhibit 6 to this declaration is a printout of the historical Kindle
                                                          27
                                                               Terms that were in place when Mr. McKee purchased that Kindle Fire Tablet. The
                                                          28   MASSELLO FURTHER SUPP.
                                                               DECL. ISO DFTS’ MTN TO
                                                               COMPEL ARB.                               8        Case No. 2:17-cv-1941 GW(Ex)
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                                                           1 Kindle Terms state, “[i]f you place an order for or register a Kindle Fire, you also
                                                           2 agree to the following additional terms” and then they provide a listing of
                                                           3 hyperlinks, including a link to the “Amazon Prime Terms and Conditions” in place
                                                           4 at that time. Clicking on that link would have directed Mr. McKee to the historical
                                                           5 Amazon Prime Terms & Conditions attached as Exhibit 5 to this declaration, above.
                                                           6         19.   Mr. McKee purchased a Fire TV Stick on Monday, October 27, 2014.
                                                           7 Attached as Exhibit 7 to this declaration is a printout of the historical Amazon Fire
                                                           8 TV Terms that were in place when Mr. McKee purchased that Fire TV Stick. The
                                                           9 Amazon Fire TV Terms state, “[i]f you place an order for or register an Amazon
                                                          10 Fire TV, you agree to the following terms,” and then they provide a listing of
                                                          11 hyperlinks, including a link to the “Amazon Fire TV Terms of Use” in place at that
                                                          12 time. Attached as Exhibit 8 to this declaration is a printout of the webpage that Mr.
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                                                          13 McKee would have seen had he clicked the “Amazon Fire TV Terms of Use” link
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                                                          14 when he purchased his Fire TV Stick, and which reflects the Amazon Fire TV &
                                                          15 Fire TV Stick Terms of Use in place at the time. The first paragraph of the Amazon
                                                          16 Fire TV & Fire TV Stick Terms of Use stated:
                                                          17             This is an agreement between you and Amazon Digital
                                                                         Services, Inc. (with its affiliates, “Amazon” or “we”).
                                                          18             Please read these Amazon Fire TV Terms of Use, the
                                                                         Amazon.com Privacy Notice, the Amazon.com
                                                          19             Conditions  of Use, and the other applicable rules,
                                                                         policies, and terms posted on the Amazon.com website,
                                                          20             on or through your Amazon Fire TV, or provided with
                                                                         any of the Services (collectively, this “Agreement”)
                                                          21             before using the Amazon Fire TV. By using the Amazon
                                                                         Fire TV, you agree to be bound by the terms of this
                                                          22             Agreement. If you do not accept the terms of this
                                                                         Agreement, then you may not use the Amazon Fire TV,
                                                          23             and you may return the Amazon Fire TV in accordance
                                                                         with the applicable return policy.
                                                          24 The terms “Conditions of Use” and “Privacy Notice” appeared in blue, underlined
                                                          25 text and were hyperlinks. If Mr. McKee had clicked the “Conditions of Use” link
                                                          26 when Mr. McKee signed up for his Amazon Prime membership, Amazon would
                                                          27 have directed to the Amazon Conditions of Use that Amazon had in place at that
                                                          28 MASSELLO FURTHER SUPP.
                                                              DECL. ISO DFTS’ MTN TO
                                                              COMPEL ARB.                            9       Case No. 2:17-cv-1941 GW(Ex)
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                                                           1 time, which I attached as Exhibit 16 to my supplemental declaration (Dkt. No. 30-
                                                           2 17). The Amazon Conditions of Use in place when Mr. McKee signed up for his
                                                           3 Amazon Prime membership included the Amazon arbitration agreement.
                                                           4         20.   As I discussed in my supplemental declaration (Dkt. 30-1), Mr. McKee
                                                           5 also purchased an Amazon Echo on Tuesday, April 19, 2016, and he activated his
                                                           6 Amazon Echo on April 27, 2016. I described the process that Mr. McKee must
                                                           7 have gone through when activating his Amazon Echo through the Alexa companion
                                                           8 app in my supplemental declaration, and I attached a screenshot of the screen that
                                                           9 Mr. McKee must have seen during that process as Exhibit 11 to my supplemental
                                                          10 declaration (Dkt. No. 30-12). For the avoidance of all doubt, the only possible
                                                          11 difference between what appears in Exhibit 11 to my supplemental declaration and
                                                          12 what Mr. McKee saw when activating his Amazon Echo is the user name that
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                                                          13 appears in Exhibit 11 to my supplemental declaration (“venkatrk+testscreen”).
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                                                          14 Aside from that one exception, Mr. McKee must have seen all of the rest of the text
                                                          15 that appears in Exhibit 11 to my supplemental declaration; it all appeared on a
                                                          16 single screen on an iPhone, and Mr. McKee would not have needed to scroll down
                                                          17 to see the bottom of the image or any other part of the disclosure. Moreover, the
                                                          18 screen did not require Mr. McKee to enter any information, and no element on the
                                                          19 screen would have triggered a keyboard to pop up and potentially obscure any part
                                                          20 of the disclosure that Mr. McKee saw. In addition, at that time, Audible’s standard
                                                          21 terms were entitled “Audible Conditions of Use,” and they contained an arbitration
                                                          22 provision that is substantively identical to the arbitration provision in Amazon’s
                                                          23 Conditions of Use. Attached as Exhibit 9 are printouts of archived Amazon
                                                          24 webpages promoting the Amazon Echo’s integration with Audible, as they existed
                                                          25 before Mr. McKee purchased his Amazon Echo device.
                                                          26         I declare under penalty of perjury under the laws of the United States that the
                                                          27 foregoing is true and correct.
                                                          28   MASSELLO FURTHER SUPP.
                                                               DECL. ISO DFTS’ MTN TO
                                                               COMPEL ARB.                              10       Case No. 2:17-cv-1941 GW(Ex)
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                1       Executed on this 5th day of July, 2017, at Newark, New Jersey.
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               28   MASSELLO FURTHER SUPP.
                    DECL. ISO DFTS' MTN TO
                    COMPEL ARB.                          11      Case No. 2:17-cv-1941 GW(Ex)
